           Case 5:18-cv-01223 Document 1 Filed 11/26/18 Page 1 of 8



                     UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF TEXAS
                         SAN ANTONIO DIVISION

GREEN SOURCE HOLDINGS LLC,
    Plaintiff,

vs.                                               Civil Action No. 5:18-cv-01223

KMP HOLDINGS, LLC D/B/A FRAC-
CHEM, LLC,                                          Jury Trial Demanded
    Defendant.


                 PLAINTIFF’S ORIGINAL COMPLAINT FOR
                        PATENT INFRINGEMENT

      Plaintiff Green Source Holdings LLC (“Green Source”) brings this Complaint

against Defendant KMP Holdings, LLC d/b/a Frac-Chem, LLC (“Frac-Chem”) for

patent infringement. In support, Green Source shows as follows:1




1 Green Source’s allegations relating to itself are based on personal knowledge, while
Green Source’s allegations relating to Frac-Chem are made upon information and
belief.




                                         -1-
            Case 5:18-cv-01223 Document 1 Filed 11/26/18 Page 2 of 8



                                I.     THE PARTIES

      1.      Green Source is a Delaware limited liability company with its principal

place of business in Texas.

      2.      KMP Holdings, LLC d/b/a Frac-Chem, LLC is a Delaware limited

liability company with a principal office located at 178 Pleasanton Park Lane,

Pleasanton, TX 78064. KMP Holdings, LLC d/b/a Frac-Chem may be served through

its registered agent: CT Corporation System, 1999 Bryan St., Suite 900, Dallas, TX

75201-3136.

                       II.    JURISDICTION AND VENUE

      3.      This is an action for patent infringement arising under the patent laws

of the United States, 35 U.S.C. §§ 1 et seq. This Court has jurisdiction over this action

pursuant to 28 U.S.C. §§ 1331 and 1338(a).

      4.      This Court has personal jurisdiction over Frac-Chem because it conducts

business in this District, the State of Texas, and in the United States. This Court

also has personal jurisdiction over Frac-Chem because it has committed acts of patent

infringement, induced acts of patent infringement by others, contributed to patent

infringement by others, and/or advertised infringing products in this District, the

State of Texas, and in the United States. Frac-Chem is subject to the Court’s general

jurisdiction from regularly doing or soliciting business in this District and Texas, as




                                          -2-
            Case 5:18-cv-01223 Document 1 Filed 11/26/18 Page 3 of 8



well as deriving substantial revenue from goods and services provided to persons or

entities in this District and Texas.

       5.    Venue is proper in this district pursuant to 28 U.S.C. §§ 1391 and

1400(b) because Frac-Chem has committed acts of infringement here and maintains

a regular and established place of business here through its office, lab, and plant

located at 178 Pleasanton Park Lane, Pleasanton, TX 78064.2 By way of example,

Exhibit A is Frac-Chem Safety Data Sheets, which confirm the infringing products

are manufactured here in this District (and Division) and, thus, sold and shipped

from this District (and Division).

                III.   THE PATENTS-IN-SUIT AND STANDING

       6.    The United States Patent and Trademark Office duly and legally issued

the following U.S. Patents after a full and fair examination, which are attached as

exhibits and incorporated here by reference:

      U.S. Patent No. 8,101,812 (Exhibit B);

      U.S. Patent No. 8,272,442 (Exhibit C);

      U.S. Patent No. 8,404,107 (Exhibit D);

      U.S. Patent No. 8,522,876 (Exhibit E);

      U.S. Patent No. 8,685,234 (Exhibit F);



       2
        Pleasanton is in Atascosa County, which is part of the San Antonio Division
of the Western District of Texas.




                                        -3-
             Case 5:18-cv-01223 Document 1 Filed 11/26/18 Page 4 of 8



      U.S. Patent No. 9,181,468 (Exhibit G);

      U.S. Patent No. 8,404,108 (Exhibit H);

      U.S. Patent No. 9,102,864 (Exhibit I); and

      U.S. Patent No. 9,416,645 (Exhibit J).

These patents are referred to collectively hereafter as the “Asserted Patents.”

       7.     Green Source is the owner of all rights of and to the Asserted Patents

and possesses all rights of recovery for past, present, and/or future infringement of

the Asserted Patents.

                IV.     FRAC-CHEM’S PATENT INFRINGEMENT

       8.     Green Source incorporates the preceding paragraphs by reference.

       9.     The Asserted Patents are valid and presumed valid under 35 U.S.C. §

282. The Asserted Patents are also enforceable.

       10.    Green Source has provided proper notice to Frac-Chem of its

infringement. There is no limitation on damages.

       11.    Pursuant to 35 U.S.C. § 271(a), Frac-Chem has infringed one or more of

the Asserted Patents’ claims by making, using, offering for sale, selling, importing,

and/or renting Frac-Chem’s trade name “Alpha-K” line of products for use with

enhanced oil and gas recovery and enhanced flowback applications.          By way of

example, further descriptions of Frac-Chem’s accused processes and products are




                                         -4-
            Case 5:18-cv-01223 Document 1 Filed 11/26/18 Page 5 of 8



found in Frac-Chem’s Safety Data Sheets (Exhibit A) and marketing brochure

(Exhibit K), which are incorporated here by reference.

      12.    Additionally and/or alternatively, pursuant to 35 U.S.C. § 271(b) & (c),

Frac-Chem has contributed to and/or induced infringement by direct and indirect

third party customers by marketing, promoting (including providing instructions for

use), selling, offering for sale, importing, and/or renting its processes and products

described in ¶ 11, which fall within the scope of one or more of the Asserted Patents’

claims, to these customers. At all relevant time periods, Frac-Chem had the requisite

intent to be held liable for indirect infringement, including, but not limited to, having

actual knowledge of the Asserted Patents and instructing its third party customers

on the use of Frac-Chem’s processes and products in an infringing manner.

      13.    Frac-Chem’s acts of infringement have caused and will continue to cause

Green Source damage. Frac-Chem is liable to Green Source in an amount that

adequately compensates Green Source for Frac-Chem’s infringement, which can be

no less than a reasonable royalty together with interest and costs pursuant to 35

U.S.C. § 284.

      14.    Green Source’s damage will continue unless and until enjoined by this

Court. These infringing acts have caused and will continue to cause immediate and

irreparable harm for which there is no adequate remedy at law.




                                          -5-
             Case 5:18-cv-01223 Document 1 Filed 11/26/18 Page 6 of 8



       15.    Frac-Chem’s infringement of the Asserted Patents has been willful

pursuant to 35 U.S.C. § 284, entitling Green Source to enhanced damages. During

all relevant time periods, Frac-Chem had knowledge of the Asserted Patents and

chose to commit egregious acts of infringement of the Asserted Patents despite this

knowledge.

       16.    This is an exceptional case pursuant to 35 U.S.C. § 285, entitling Green

Source to its attorneys’ fees and other litigation costs.

                                 V.     JURY DEMAND

       17.    Pursuant to Fed. R. Civ. P. 38, Green Source demands a jury trial of all

issues so triable.

                           VI.        PRAYER FOR RELIEF

       18.    WHEREFORE, Green Source prays for the following relief from the

Court and Jury:

       a.     That the Asserted Patents be adjudged infringed by Frac-Chem under

all applicable provisions of Title 35, United States Code;

       b.     That Frac-Chem, its officers, directors, employees, agents and all those

acting in concert with Frac-Chem be enjoined, pursuant to 35 U.S.C. §283, from all

future activities infringing the Asserted Patents, and/or inducing or contributing to

the infringement of the Asserted Patents by others, including making, using, selling

or offering for sale the claimed subject matter of the Asserted Patents;




                                           -6-
            Case 5:18-cv-01223 Document 1 Filed 11/26/18 Page 7 of 8



      c.       That Frac-Chem be required to prepare and deliver to the Court a

complete list of entities to whom Frac-Chem has sold or offered for sale any product

that infringes the Asserted Patents;

      d.       That Frac-Chem be ordered to account to Green Source for all sales,

revenues, and profits derived from its infringement of the Asserted Patents, pursuant

to all applicable provisions of Title 35, United States Code;

      e.     That this Court hold Frac-Chem liable for its infringement and award

Green Source its   actual   and   compensatory     damages, costs, expenses, and fees

resulting from Frac-Chem’s infringing activities, as provided by 35 U.S.C. § 284;

      f.     That this Court award Green Source prejudgment interest, post

judgment interest, and costs of Court;

      g.    That this Court order that damages so found or assessed be enhanced or

trebled as a result of Frac-Chem’s willful, deliberate, wanton, and/or reckless

infringement, as provided by 35 U.S.C. § 284;

      h.     That this Court order that, because this is an exceptional case, Green

Source be awarded its reasonable and necessary attorneys’ fees and other litigation

costs incurred in connection with this action, as provided for by 35 U.S.C. § 285; and

      i.   That Green Source be awarded such other and further relief as may be just

and appropriate.




                                         -7-
           Case 5:18-cv-01223 Document 1 Filed 11/26/18 Page 8 of 8



Date: November 26, 2018                Respectfully submitted,


                                       /s/Bradford T. Laney
                                       Bradford T. Laney (lead counsel)
                                       1800 Augusta Drive, Suite 300
                                       Houston, TX 77057
                                       713-429-8050 (telephone)
                                       713-429-8045 (facsimile)
                                       Email: blaney@raleybowick.com


                                       ATTORNEY FOR PLAINTIFF
                                       GREEN SOURCE HOLDINGS LLC


                        CERTIFICATE OF SERVICE

       The undersigned counsel certifies that Defendant will be served with a copy
of this Complaint pursuant to the Federal Rules of Civil Procedure.

                                       /s/ Bradford T. Laney
                                       Bradford T. Laney




                                        -8-
